                Case 2:75-cv-04111-DDP Document 396-2 Filed 06/06/23 Page 1 of 2 Page ID #:7434




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                        County Sheriff Robert Luna, in his Official
                     15 Capacity, and the County of Los Angeles
                     16
                                               UNITED STATES DISTRICT COURT
                     17
                                CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
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                           DENNIS RUTHERFORD, et al.,                 Case No. 75-cv-04111-DDP
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                                      Plaintiffs,                     SUPPLEMENTAL DECLARATION
                     21
                                                                      OF DR. GAYANI DESILVA IN
                     22         v.                                    SUPPORT OF DEFENDANTS’
                                                                      PREHEARING BRIEF
                     23 ROBERT LUNA, Sheriff of Los
                        Angeles County, in his official capacity,
                     24 and the COUNTY OF LOS ANGELES,                Hon. Dean D. Pregerson
                                      Defendants.                     Courtroom 9C
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                              SUPPLEMENTAL DECLARATION OF DR. GAYANI DESILVA ISO DEFS.’ PREHEARING BRIEF
              Case 2:75-cv-04111-DDP Document 396-2 Filed 06/06/23 Page 2 of 2 Page ID #:7435




                          1     SUPPLEMENTAL DECLARATION OF DR. GAYANI DESILVA
                      2        I, Dr. Gayani DeSilva, declare as follows:
                      3         1.    I am a Chief Physician 1, Psychiatry at the Los Angeles County
                      4 Department of Health Services. I have personal knowledge of the facts set forth in
                      5 this Supplemental Declaration and, if called as a witness, I could and would testify
                      6 competently to such facts under oath.
                      7        2.     The County currently has a psychiatric staff stationed in the IRC
                      8 consisting of full-time equivalents of 2. 7 5 psychiatrists and 6.25 psychiatric nurse
                      9 practitioners, with 2 additional nurse practitioners currently onboarding.
                    10         3.     Since the last week of March, approximately 80% of individuals in the
                    11 IRC with mental health conditions received a psychiatric assessment, and
                    12 medication as indicated, in the IRC. They therefore were provided care above and
                    13 beyond the carceral settings standard. The balance of these individuals received
                    14 treatment in line with the standard of care, per the Bridge Medication Policy.
                    15         I declare under penalty of perjury under the laws of the United States of
                    16 America that the foregoing is true and correct to the best of my knowledge.
                    17          Executed on this 5th day of June, 2023, at Los Angeles, California.
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                    20                                               Dr. Gayani DeSilva
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                              SUPPLEMENTAL DECLARATION OF DR. GAY ANI DESILVA ISO DEFS.' PREHEARING BRIEF
